Case 4:18-cv-00738 Document 24 Filed on 03/12/19 in TXSD Page 1 of 6
                                                             United States District Court
                                                               Southern District of Texas

                                                                  ENTERED
                                                                 March 13, 2019
                                                               David J. Bradley, Clerk
Case 4:18-cv-00738 Document 24 Filed on 03/12/19 in TXSD Page 2 of 6
Case 4:18-cv-00738 Document 24 Filed on 03/12/19 in TXSD Page 3 of 6
Case 4:18-cv-00738 Document 24 Filed on 03/12/19 in TXSD Page 4 of 6
Case 4:18-cv-00738 Document 24 Filed on 03/12/19 in TXSD Page 5 of 6
Case 4:18-cv-00738 Document 24 Filed on 03/12/19 in TXSD Page 6 of 6
